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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


RANDALL J. CONNORS,
P.O. Box 506
Schofield, WI 54476

                       Plaintiff,
                                                 Case No. 18-cv-1042
           vs.

WISCONSIN PUBLIC SERVICE
RESOURCES CORPORATION,
700 North Adams Street
P.O. Box 19001
Green Bay, WI 54307-9001

and

THE PRUDENTIAL INSURANCE
COMPANY OF AMERICA,
Registered Agent:
CT Corporation System
301 Bedford Street, Suite 1
Madison, WI 53703

                       Defendants.


                                       COMPLAINT



           The Plaintiff, Randall J. Connors, by Hawks Quindel, S.C., for his complaint

against the above-named Defendants, hereby states as follows:

                                         PARTIES

           1.    Plaintiff is an adult resident of the State of Wisconsin and currently

resides in Schofield, Wisconsin.




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           2.   Defendant, Wisconsin Public Services Resources Corporation (“WPS”),

is the Plaintiff’s former employer and on information and belief is a corporation

organized under the laws of the state of Wisconsin, licensed to do business in

Wisconsin.

           3.   Defendant,    The   Prudential    Insurance    Company     of   America

(“Prudential”), on information and belief, is a corporation organized under the laws

of New Jersey, licensed to do business in Wisconsin.

           4.   On information and belief, Prudential administers and insures a long

term disability insurance plan for WPS (“the Plan”), an employee welfare benefit

plan subject to the Employee Retirement Income Security Act of 1974 (“ERISA”) as

amended, that has been in effect since at least January 1, 2015 and continues to the

present time.

                               JURISDICTION & VENUE

           5.   As described more fully below, this is an action by a participant in an

employee welfare benefit plan governed by ERISA to recover benefits due under the

terms of the Plan pursuant to ERISA § 502(a)(1)(B).

           6.   Jurisdiction over this action is conferred upon this court because the

claims herein arise under ERISA.

           7.   Venue is proper in the Western District of Wisconsin pursuant to

ERISA § 502(e)(2) and 28 U.S.C. § 1391(b), because a substantial part of the events

and omissions giving rise to these claims occurred in this district and, because, in

substantial part, the breaches asserted herein took place in this district.



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           8.    Plaintiff’s administrative remedies have been exhausted as a condition

precedent to filing this action.

                                          FACTS

           9.    Plaintiff is a former Designer 2 for WPS.

           10.   During the course of Plaintiff’s employment, Plaintiff became eligible

for certain employee benefits, including the long-term disability insurance (“LTDI”)

benefits provided by the Plan.

           11.   Plaintiff ceased working on April 14, 2015 due to post-viral syndrome.

           12.   Plaintiff made a claim for LTDI benefits through Prudential.

           13.   Prudential was responsible for determining whether Plaintiff was

eligible for LTDI benefits.

           14.   Prudential was responsible for paying Plaintiff’s LTDI benefits.

           15.   Prudential approved Plaintiff’s claim for LTDI benefits until October

21, 2017.

           16.   Plaintiff’s LTDI benefit is worth approximately $3,790.80 per month.

           17.   While Plaintiff was approved for LTDI benefits, WPS continued to offer

Plaintiff coverage under its employee medical, dental, and vision insurance plans.

           18.   Prudential has denied Plaintiff’s claim for LTDI benefits beyond

October 21, 2017.

           19.   As a result of the denial of his LTDI benefits claim, it is anticipated

that WPS will discontinue Plaintiff’s coverage under its employee medical, dental,

and vision insurance plans.



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           20.   Had Plaintiff’s LTDI claim not been denied, he would have remained

eligible to continued coverage under WPS’s medical, dental, and vision insurance

plans.

           21.   Plaintiff timely appealed Prudential’s denial of his benefits claim.

           22.   Plaintiff submitted complete medical documentation in support of his

disability as part of the appeal.

           23.   Plaintiff submitted all information requested by Prudential.

           24.   Prudential failed to consider the issues raised in Plaintiff’s appeal.

           25.   Prudential ignored clear medical evidence of Plaintiff’s medical

conditions and disability.

           26.   Prudential did not perform a “full and fair review” of Plaintiff’s claim.

           27.   Prudential failed to notify Plaintiff of the additional material

necessary in order for Plaintiff to perfect Plaintiff’s claim and an explanation of why

that material was necessary.

           28.   Prudential failed to adequately explain why it rejected specific

evidence in Plaintiff’s file.

           29.   Prudential failed to engage in a meaningful dialogue with Plaintiff.

           30.   Prudential failed to adequately explain its reasons for denying Plaintiff

benefits.

           31.   Prudential conducted a selective review of Plaintiff’s medical records.

           32.   Prudential failed to adequately assess Plaintiff’s employability before

determining that Plaintiff is not sufficiently disabled to qualify for benefits.



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           33.   At all times material to this complaint, Plaintiff has remained disabled

as defined by the Plan.

           34.   At all times material to this case, the Plan has remained in full force

and effect.

           35.   Prudential’s denial of Plaintiff’s claim for LTDI benefits caused

Plaintiff to suffer the loss of benefits and to incur expenses.

                             FIRST CAUSE OF ACTION:
                       DENIAL OF BENEFITS IN VIOLATION OF
                           SECTION 502(a)(1)(B) OF ERISA

           36.   The preceding paragraphs are reincorporated by reference as though

set forth here in full.

           37.   Plaintiff has been and remains disabled, as that term is defined by the

Plan.

           38.   Although the Plan grants the administrator discretionary authority to

determine eligibility for benefits or to construe the Plan terms, the proper standard

of review is de novo due to Prudential’s failure to complete its review of her appeal

within 90 days. See 29 C.F.R. § 2560.503-1(i)(1)(i), (i)(3)(i), and (l)(2)(i).

           39.   Prudential wrongfully denied LTDI benefits due to Plaintiff as of

October 21, 2017.

           40.   Alternatively, if the arbitrary and capricious standard of review

applies, then Prudential arbitrarily and capriciously denied Plaintiff benefits.

           41.   Prudential interpreted and applied the terms and conditions of the

Plan in a manner that is inconsistent with the plain language contained therein.



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           42.   Upon information and belief, Prudential inconsistently interpreted the

terms and conditions of the Plan from one case to the next.

           43.   As both the payer of claims and the adjudicator of claim eligibility,

Prudential has an inherent conflict of interest.

           44.   Prudential’s denial of Plaintiff’s LTDI benefits was “downright

unreasonable.”

           45.   For these and other reasons, Prudential acted in violation of

§ 502(a)(1)(B) of ERISA when it wrongfully denied Plaintiff’s claim for LTDI

benefits.

           WHEREFORE the Plaintiff, Randall J. Connors, demands judgment from the

Defendants for the following:

           A.    Payment of all retroactive LTDI benefits owed to Plaintiff under the

terms and conditions of the Plan;’

           B.    Payment of any and all retroactive value of the Plaintiff’s medical,

dental, and vision insurance benefits owed to the Plaintiff during the period of time

when his LTDI benefits were wrongfully denied;

           C.    A declaration of Plaintiff’s continued eligibility for all LTDI benefits

under the Plan and continued medical, dental, and vision insurance benefits

through WPS;

           D.    Prejudgment interest;

           E.    Reasonable attorney’s fees and costs related to the action; and

           F.    Such other and further relief that the Court deems just and equitable.



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Dated: this 13th day of December, 2018


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